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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         Case No. 1:16-cr-00122-DAD-BAM-6
12                     Plaintiff,
                                                       ORDER FINDING THE DEFENDANT
13          v.                                         MENTALLY INCOMPETENT TO STAND
14                                                     TRIAL UNDER 21 U.S.C. § 4241(d) AND
     RAFAEL DELATORRE,
                                                       COMMITTING THE DEFENDANT TO THE
15                     Defendant.                      CUSTODY OF THE ATTORNEY GENERAL

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17          This matter is before the Court on the joint motion of the United States and the defendant

18   for a hearing to determine the mental competency of the defendant pursuant to 18 U.S.C. §

19   4241(a).

20          Upon consideration of the competency evaluations prepared by Dr. Howsepian and Dr.

21   Napolitano, and pursuant to 18 U.S.C. § 4241(d), the Court finds by a preponderance of the

22   evidence that the defendant is presently suffering from a mental disease or defect rendering him

23   mentally incompetent to the extent that he is unable to understand the nature and consequences of

24   the proceedings against him and to assist properly in his defense. Accordingly, the Court hereby

25   ORDERS that:

26          (1)     the defendant is committed to the custody of the Attorney General for treatment in

27                  a suitable facility for such a reasonable time, not to exceed four months, as is

28                  necessary to determine whether there is a substantial probability that the defendant
                                                      1
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 1               will attain capacity to permit the proceedings to go forward;

 2         (2)   the defendant shall maintain contact with counsel, and upon notification by

 3               counsel that a facility has been designated, shall self-surrender to the facility

 4               designated by the Bureau of Prisons (BOP) within 14 days of counsel’s receipt of

 5               notice of the BOP’s designation; in the event the defendant is unable to find

 6               transportation to the designated facility, defendant shall surrender to the United

 7               States Marshal Service in Fresno, California, within 7 days of counsel’s receipt of

 8               notice of the designation, for processing and transportation to the designated

 9               facility;

10         (3)   upon completion of the evaluation of the defendant, the director of such facility

11               shall submit a report to counsel and the court addressing whether he has attained

12               the capacity to permit the proceedings to go forward;

13         (4)   time is excluded from November 6, 2017, through April 9, 2018, pursuant 18

14               U.S.C. § 3161(h)(1)(A) and 18 U.S.C. § 3161(h)(4); and

15         (5)   this matter is set for a status conference on April 9, 2018, at 10:00 a.m.

16   IT IS SO ORDERED.
17
        Dated:   November 8, 2017
18                                                      UNITED STATES DISTRICT JUDGE

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